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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                           CASE NO. 3:20-CR-00005-BSM-2

LAKENDRA SAMON THOMAS                                                          DEFENDANT

                                           ORDER

       Lakendra Thomas’s pro se motion to vacate, set aside, or correct her sentence [Doc.

No. 286] is denied. Thomas pled guilty to charges of conspiracy to distribute and possess

with intent to distribute methamphetamine, and distribution of methamphetamine. See Doc.

Nos. 171 & 294. She received a mandatory minimum sentence consisting of 120 months’

imprisonment on each count (to be served concurrently), five years of supervised release, and

a $200 special assessment. Doc. No. 267. In support of her motion, Thomas argues that her

lawyer failed to appeal her sentence upon her request, to contest the amount of

methamphetamine attributed to her, to challenge a two-point enhancement for possession of

a firearm, and to argue for safety-valve relief.

       Thomas’s contention that her lawyer failed to appeal her sentence upon her request

is insufficient to establish ineffective assistance of counsel. Thomas was informed that she

had fourteen days following the entry of judgment, until September 5, 2022, to appeal her

sentence. See Sent. Tr. at 12–13, Doc. No. 293. Thomas’s lawyer disputes that Thomas ever

spoke to him or his staff about filing an appeal prior to her filing the instant motion on March

13, 2023. Doc. No. 295-1. Because Thomas waited more than six months after the appeal
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deadline to raise this issue, her lawyer’s assertion that she never requested an appeal is more

credible. See Barger v. United States, 204 F.3d 1180, 1182 (8th Cir. 2000). Thomas’s bare

assertion to the contrary is insufficient to support a grant of relief. Yodprasit v. United

States, 294 F.3d 966, 969 (8th Cir. 2002) (citation omitted).

       Thomas’s argument that her lawyer should have contested the amount of

methamphetamine attributable to her fails because such a challenge would have been

frivolous. At Thomas’s plea hearing, the government recited the facts of the offense,

including that Thomas had distributed 436.1 grams of methamphetamine. Plea Tr. at 18,

Doc. No. 294. Thomas stated she listened to the statement of facts, that the statement was

accurate, and that she wished to plead guilty to the charged offenses. Id. at 19. For these

reasons, Thomas’s lawyer had no basis to contest the presentence investigation report’s

determination that the offense involved more than 150 grams but less than 500 grams of

methamphetamine actual. Rodriguez v. United States, 17 F.3d 225, 226 (8th Cir. 1994)

(failure to advance meritless argument cannot constitute ineffective assistance).

       Thomas’s contention that her lawyer failed to challenge a two-point enhancement for

possessing a firearm is directly contracted by the record. Her lawyer made such an objection,

and it was overruled. Sent. Tr. at 3. Finally, Thomas’s argument that her lawyer should have

argued for safety-value relief fails because she was not eligible for such relief based on her

possession of a firearm and her failure to cooperate with the government until any

information she had was no longer valuable. For these reasons, any safety-valve argument


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by her lawyer would have been frivolous. See 18 U.S.C. § 3553(f)(2) and (5).

       There is no need to conduct an evidentiary hearing because the record conclusively

shows that Thomas is not entitled to relief. Roundtree v. United States, 751 F.3d 923, 925

(8th Cir. 2014) (citation omitted). Further, no certificate of appealability is issued because

Thomas has not made a substantial showing of the denial of a constitutional right. 28 U.S.C.

§ 2253(c)(2).

       IT IS SO ORDERED this 2nd day of May, 2023.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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